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                                               Attachment A
                                            Entries to Reliquidate

          Enty Number                               Entry Date
                44288044967                                        5/19/2018
               44288048976*                                         6/2/2018
                8S810522209                                        5/22/2020
                8S800000034                                         9/8/2020
                8S800000042                                        9/21/2020
                8S800000059                                        9/23/2020
                8S800000067                                        9/25/2020
                8S800000075                                        9/29/2020
                8S800000083                                        9/30/2020
                8S800000091                                        10/5/2020
                8S800000109                                       12/14/2020
                8S800000117                                         1/4/2021
               44288406281*                                        6/18/2021
*Reliquidate only as to “new line 2,” and not as to “line 1,” as defined in the “CBP Validation of CSI Entries”
document sent from plaintiff to defendant on January 15, 2025.




                                                          1
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                               Attachment B
                         Entries Not to Reliquidate

  Enty Number                   Entry Date
        44288061078                          7/7/2018




                                     2
